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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

DISPLAY TECHNOLOGIES, LLC,

                     Plaintiff,

v.                                                       Case No: 6:20-cv-1405-Orl-37EJK

NAMSUNG AMERICA, INC.,

                     Defendant.



                         ORDER ON INTERESTED PERSONS
                          AND CORPORATE DISCLOSURE

       This Court makes an active effort to review each case in order to identify parties

and interested corporations in which the assigned District Judge or Magistrate Judge may

have an interest, as well as for other matters that might require consideration of recusal.

       It is therefore ORDERED that, within fourteen (14) days from the day of this Order

or, if a party joins this action subsequent to the entry of this Order, from the date of a

party’s first appearance, each party, pro se party, governmental party, intervenor, non-

party movant, and Rule 69 garnishee shall file and serve a Certificate of Interested

Persons and Corporate Disclosure Statement substantially in the form attached.

       It is FURTHER ORDERED that no party may seek discovery from any source

before filing and serving a Certificate of Interested Persons and Corporate Disclosure

Statement. A motion, memorandum, response, or other paper B including emergency

motions B may be denied or stricken unless the filing party has previously filed and

served a Certificate of Interested Persons and Corporate Disclosure Statement.
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       It is FURTHER ORDERED that each party has a continuing obligation to file and

serve an amended Certificate of Interested Persons and Corporate Disclosure Statement

within fourteen (14) days of discovering any ground for amendment, for conflict of

interest, for recusal, or for disqualification of the judicial officer.

       It is FURTHER ORDERED that, in order to assist the Court in determining when

a conflict of interest may exist, each party shall use the full caption of this case, including

the names of all parties and intervenors, on all motions, memoranda, papers, and

proposed orders submitted to the Clerk. See Fed. R. Civ. P. 10 (a); Local Rule 1.05(b).

       DONE AND ORDERED in Orlando, Florida, on August 10, 2020.

                                                    ROY B. DALTON, JR.
                                                    United States District Judge


                                                    By:      /s/Bianca Acevedo
                                                                  Deputy Clerk
Copies to:     Counsel of Record
               Pro Se Parties
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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
 [Insert caption of the case]
                                  Certificate of Interested Persons and
                                    Corporate Disclosure Statement

        I hereby disclose the following pursuant to this Court=s Order on Interested Persons and
 Corporate Disclosure:

         1.      The name of each person, attorney, association of persons, firm, law firm, partnership,
 and corporation that has or may have an interest in a party to this action or in the outcome of this action,
 including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that
 own 10% or more of a party=s stock, and all other identifiable legal entities related to a party:
                          [insert list]1

         2.       The name of every other entity whose publicly-traded stock, equity, or debt may be
 substantially affected by the outcome of the proceedings:

                           [insert list]

        3.      The name of every other entity which is likely to be an active participant in the
 proceedings, including the debtor and members of the creditors= committee (or if no creditors=
 committee the 20 largest unsecured creditors):

                           [insert list]

          4.       The name of each victim (individual and corporate), including every person who may
 be entitled to restitution:

                           [insert list]

           5.     Check one of the following:

    _____         a. I certify that I am unaware of any actual or potential conflict of interest involving
 the District Judge and Magistrate Judge assigned to this case and will immediately notify the Court in
 writing upon learning of any such conflict.
 - or -
    _____         b. I certify that I am aware of a conflict or basis of recusal of the District Judge or
 Magistrate Judge as follows:

                           [insert explanation]


       1 A party should not routinely list the assigned District Judge or Magistrate Judge as an
Ainterested person@ absent some non-judicial interest.
